      Case 5:23-mc-00001-LGW-BWC Document 63 Filed 02/21/24 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

COALITION FOR GOOD                        )
GOVERNANCE and DONNA                      )
CURLING,                                  )
                                          )   Civil Action No. 5:23-mc-00001-LGW-BWC
        Plaintiffs,                       )
                                          )   In RE Subpoenas issued by the United States
v.                                        )   District Court For the Northern District of
                                          )   Georgia, Atlanta Division, Civil Action No.
COFFEE COUNTY BOARD OF                    )   1:17-CV-2989-AT
ELECTIONS AND REGISTRATION,               )
                                          )
        Defendant.                        )


     DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF COALITION
        FOR GOOD GOVERNANCE’S MOTION TO EXCEED PAGE LIMIT


        Defendant Coffee County Board of Elections and Registration (the “CCBOE”) files

this Response in Opposition to Plaintiff Coalition for Good Governance’s Motion to

Exceed Page Limit for its motion for sanctions. (Doc. 58). Plaintiff filed its Motion for

Sanctions (doc. 60) a day after the Court-imposed filing deadline of February 19, 2024,

but did not move the Court for a nunc pro tunc extension of that deadline. Since an

extension of that deadline has not been granted, their motion to exceed page limit is not

properly before the Court and must be denied.

        In a recent order granting Plaintiff’s earlier request for an extension, the Court

ruled that “Plaintiffs shall file any motion seeking sanctions on or before February

19, 2024.” (Doc. 46, p. 2) (emphasis in original). On February 20, 2024, Plaintiff filed

its Motion to Exceed Page Limit (doc. 58) and Motion for Sanctions Against Defendant

CCBOER and Counsel (doc. 60). Plaintiff did not seek an extension of the February 19,

2024 deadline prior to filing the motions on February 20, 2024, nor at any time

                                              1
     Case 5:23-mc-00001-LGW-BWC Document 63 Filed 02/21/24 Page 2 of 5




thereafter. Because Plaintiff did not seek an extension prior to the deadline, it must file a

motion for an extension showing good cause and excusable neglect. See Fed. R. Civ. P.

6(b)(1). The Court should deny Plaintiff’s Motion to Exceed Page Limit (doc. 58) as

premature, and should deny Plaintiff’s Motion for Sanctions (doc. 60) because the Court

did not authorize the late filing.

   A. Plaintiff must file a motion to extend the February 19, 2024 deadline
      for its sanctions motion and show good cause and excusable neglect
      for its failure to meet the deadline.

       Fed. R. Civ. P. 6(b)(1) provides that “[w]hen an act may or must be done within a

specified time, the court may, for good cause, extend the time:

       (A) with or without motion or notice if the court acts, or if a request is
       made, before the original time or its extension expires; or

       (B) on motion made after the time has expired if the party failed to act
       because of excusable neglect.

Because the February 19, 2024 deadline for filing a motion for sanctions has passed,

Plaintiff must file a motion under subsection (B) and demonstrate both good cause and

excusable neglect for its failure to meet the deadline. And, since the Court did not

authorize the belated filing of Plaintiff’s Motion for Sanctions Against Defendant

CCBOER and Counsel (doc. 60), Plaintiff’s Motion to Exceed Page Limit (doc. 58) is not

properly before the Court.

   B. Fed. R. Civ. P. 6(a) does not apply when a fixed time to act is set.

       According to recent correspondence, Plaintiff is expected to argue that Fed. R.

Civ. P. 6(a)(3)(A) extended the Court’s February 19, 2024 deadline to February 20,

2024. (Exhibit A, p. 2). Specifically, Plaintiff contends that because February 19, 2024

was a federal holiday, the deadline was automatically extended. (Id.). Plaintiff is

mistaken. Fed. R. Civ. P. 6(a) provides that “[t]he following rules apply in computing

                                             2
     Case 5:23-mc-00001-LGW-BWC Document 63 Filed 02/21/24 Page 3 of 5




any time period specified in these rules, in any local rule or court order, or in any statute

that does not specify a method of computing time.” (emphasis supplied). Here, the

Court set a fixed deadline that required Plaintiff to file its motion “on or before February

19, 2024.” (Doc. 46). Plaintiff was not required to compute any time period, and

therefore Fed. R. Civ. P. 6(a) does not apply.

       The inapplicability of Fed. R. Civ. P. 6(a) to the fixed date set in the Court’s Order

is further supported by the Advisory Committee’s notes on the 2009 Amendment to

Rule 6. The Committee notes, in relevant part, provide:

       The time-computation provisions of subdivision (a) apply only when a
       time period must be computed. They do not apply when a fixed time to act
       is set. The amendments thus carry forward the approach taken in Violette
       v. P.A. Days, Inc., 427 F.3d 1015, 1016 (6th Cir. 2005) (holding that Civil
       Rule 6(a) “does not apply to situations where the court has established a
       specific calendar day as a deadline”), and reject the contrary holding of In
       re American Healthcare Management, Inc., 900 F.2d 827, 832 (5th Cir.
       1990) (holding that Bankruptcy Rule 9006(a) governs treatment of date-
       certain deadline set by court order). If, for example, the date for filing is
       “no later than November 1, 2007,” subdivision (a) does not govern. But if a
       filing is required to be made “within 10 days” or “within 72 hours,”
       subdivision (a) describes how that deadline is computed.

Therefore, it cannot be reasonably disputed that Fed. R. Civ. P. 6(a) is inapplicable to

the situation at bar. Plaintiff’s deadline for filing a motion for sanctions was February

19, 2024. Since Plaintiff did not meet that deadline (it filed its motion for sanctions at

midnight on the following day), it was required by Fed. R. Civ. P. 6(b)(1)(B) to file a

motion for an extension of time in which it established excusable neglect. Plaintiff was

notified of this requirement in written correspondence (Ex. A, p. 1), but declined to

comply.




                                             3
     Case 5:23-mc-00001-LGW-BWC Document 63 Filed 02/21/24 Page 4 of 5




                                    CONCLUSION

      The Court should deny Plaintiff’s Motion to Exceed Page Limit (doc. 58) as it is

not properly before the Court, and should deny Plaintiff’s Motion for Sanctions (doc. 60)

because it was filed out of time without permission of the Court.


      This 21st day of February, 2024.



                                                OLIVER MANER LLP

                                                /s/ Benjamin M. Perkins
Oliver Maner LLP                                BENJAMIN M. PERKINS
218 West State Street                           Georgia Bar No. 140997
P.O. Box 10186                                  WES P. RAHN
Savannah, GA 31412                              Georgia Bar No. 60391
(912) 236-3311
bperkins@olivermaner.com                        Attorneys for Defendant Coffee
wrahn@olivermaner.com                           County Board of Elections &
                                                Registration

                                                HALL BOOTH SMITH, P.C.

                                                /s/ Jennifer D. Herzog
1564 King Road                                  JENNIFER D. HERZOG
Tifton Georgia 31793                            Georgia Bar No. 109606
(229) 382-0515                                  NICHOLAS A. KINSLEY
jherzog@hallboothsmith.com                      Georgia Bar No. 273862
nkinsley@hallboothsmith.com
                                                Attorneys for Defendant Coffee
                                                County Board of Elections &
                                                Registration




                                            4
     Case 5:23-mc-00001-LGW-BWC Document 63 Filed 02/21/24 Page 5 of 5




                              CERTIFICATE OF SERVICE

       This is to certify that I have this day caused electronic notification of filing and
service of the foregoing to be made upon counsel of record for the parties by filing the
same using the Court’s CM/ECF filing system.


      This 21st day of February, 2024.

                                                 OLIVER MANER LLP

                                                 /s/ Benjamin M. Perkins
Oliver Maner LLP                                 BENJAMIN M. PERKINS
218 West State Street                            Georgia Bar No. 140997
P.O. Box 10186                                   WES P. RAHN
Savannah, GA 31412                               Georgia Bar No. 60391
(912) 236-3311
bperkins@olivermaner.com                         Attorneys for Defendant Coffee
wrahn@olivermaner.com                            County Board of Elections &
                                                 Registration

                                                 HALL BOOTH SMITH, P.C.

                                                 /s/ Jennifer D. Herzog
1564 King Road                                   JENNIFER D. HERZOG
Tifton Georgia 31793                             Georgia Bar No. 109606
(229) 382-0515                                   NICHOLAS A. KINSLEY
jherzog@hallboothsmith.com                       Georgia Bar No. 273862
nkinsley@hallboothsmith.com
                                                 Attorneys for Defendant Coffee
                                                 County Board of Elections &
                                                 Registration




                                            5
